Case 21-12867-pmm          Doc 31      Filed 03/22/22 Entered 03/22/22 10:59:34                     Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    Frank Emery Torok II                                                    CHAPTER 13


    US Bank Trust National Association, Not In Its
    Individual Capacity But Solely As Owner Trustee
    For VRMTG Asset Trust                                                NO. 21-12867 PMM

                                      Movant
                     vs.

    Frank Emery Torok II                                           11 U.S.C. Sections 362 and 1301


    Joann M. Torok

                                      Co-Debtor

    Scott F. Waterman, Esquire
                                      Trustee

                                              STIPULATION

    AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

            I.       The post-petition arrearage on the mortgage held by the Movant on the Debtor's

    residence is $12,977.39, which breaks down as follows;

      Post-Petition Payments:          November 2021 to December 2021 at $2,293.81/month
                                       January 2022 to March 2022 at $2,450.59
      Fees & Costs Relating to Motion: $1,038.00
      Total Post-Petition Arrears      $12,977.39

            2.       The Debtor(s) shall cure said arrearages through within the following schedule:

                     a) Debtor shall list the property by April I, 2022, and provide proof of listing to

    Movant, through its undersigned counsel

                     b) Debtor shall sell the property by September I, 2022, including a complete payoff

    to US Bank Trust National Association, Not In Its Individual Capacity But Solely As Owner Trustee

    For VRMTG Asset Trust based upon a accurate payoff amount at the time of closing

            3.       In the event any of the events listed within Section 2 are not completed within the

    listed deadline, Movant may file a Certification of Default with the Court and the Court shall enter an

    Order granting the Movant relief from the automatic stay.
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            4.       The stay provided by Bankruptcy Rule 400l(a)(3) is waived.

            5.       If the case is converted to Chapter 7, the Movant may file a Certification of Default

    with the court and the court shall enter an order granting the Movant relief from the automatic stay.

            6.       If the instant bankruptcy is terminated by either dismissal or discharge, this

    agreement shall be null and void, and is not binding upon the parties.

            7.       The provisions of this stipulation do not constitute a waiver by the Movant of its

    right to seek reimbursement of any amounts not included in this stipulation, including fees and costs,

    due under the terms of the mortgage and applicable law.

            8.       The parties agree that a facsimile signature shall be considered an original signature.


    Date:   March 3, 2022                               By: Isl Rebecca A. Solarz, Esquire
                                                        Attorney for Movant


    Date.:__ M_a_r_c_h_l_O~,2_0_2_2_ __                 Isl Charles Laputka, Esquire
                                                        Charles Laputka, Esquire
                                                        Attorney for Debtors




                                                        Scott F. Waterman, Esquire
                                                        Chapter 13 Trustee



    Approved by the Court this _ _ day of _ _ _ _ _ _ _ _~ 2022. However, the court
    retains discretion regarding entry of any further order.




                                                        Bankruptcy Judge
                                                        Patricia M. Mayer
